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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 KOCH MINERALS SÀRL
 Chemin Des Primeveres 45
 Fribourg, 1700
 Switzerland

 KOCH NITROGEN INTERNATIONAL SÀRL                          Civil Action No: 17-cv-02559-KBJ
 Chemin de Primeveres 45
 Case Postale 592
 Fribourg, 1701
 Switzerland,

                Plaintiffs,

                   v.

 BOLIVARIAN REPUBLIC OF VENEZUELA;
 Ministerio del Poder Popular para Relaciones
 Exteriores
 Oficina de Relaciones Consulares
 Avenida Urdaneta
 Esquina Carmelitas a Puente Llaguno
 Piso 1 del Edificio Anexo a la Torre MRE
 Caracas, 1010
 República Bolivariana de Venezuela,

                Defendant.


                    DECLARATION OF ALEXANDER A. YANOS
            IN SUPPORT OF REQUEST FOR CLERK TO ENTER DEFAULT

       I, ALEXANDER A. YANOS, declare as follows:

1.     I am an attorney for record for Plaintiffs and Arbitration Award Creditors Koch Minerals

Sàrl (“KOMSA”) and Koch Nitrogen International Sàrl (“KNI”) (collectively “the Koch

Plaintiffs” or “Plaintiffs”) in this case. I make this declaration based on my personal knowledge

in support of the Koch Plaintiffs’ request for the Clerk to enter default against the Bolivarian

Republic of Venezuela (“Venezuela” or the “Defendant”).



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2.     On June 28, 2011, the Koch Plaintiffs commenced an arbitration against Venezuela by

filing a request for arbitration with the International Centre for Settlement of Investment

Disputes (“ICSID”) seeking compensation for Venezuela’s unlawful expropriation of their

investment in Venezuela. ECF # 7, ¶ 15. The request for arbitration was registered by the

Secretary-General of ICSID on July 19, 2011. Id.

3.     On October 30, 2017, an ICSID Tribunal (“the Tribunal”) issued an Award (“the

Award”) in Plaintiffs’ favor, in which it found that Venezuela had unlawfully expropriated

KOMSA’s interest in fertilizer plants located in Venezuela, and that Venezuela had unlawfully

expropriated KNI’s interest in the offtake agreement.. ECF # 7, Ex. 1, ¶¶ 12.3-12.4.

4.     On November 28, 2017, the Koch Plaintiffs filed this action to enforce the pecuniary

obligations of and give full faith and credit to the Award. See ECF No. 1. The Complaint set

forth a single count under 22 U.S.C. § 1650a. Id. ¶¶ 25-30.

5.     On January 11, 2018, in compliance with the Hague Convention on the Service Abroad

of Judicial and Extrajudicial Documents in Civil or Commercial matters (the “Hague Service

Convention”), the Koch Plaintiffs couriered (i) a duly-executed and notarized USM-94 “Request

for Service Abroad of Judicial or Extrajudicial Documents” in duplicate English and Spanish

versions, together with duplicate English and Spanish copies of: (ii) the original Complaint in

this action, (iii) two supporting exhibits, (iv) summons, (v) civil cover sheet, and (vi) notice of

right to consent to trial before a magistrate judge to the Central Authority designated by

Venezuela for international service of process pursuant to the Hague Service Convention. A true

and correct copy of the duly executed and notarized USM-94 form is attached as Exhibit 1.




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6.     Delivery to the Central Authority was made on January 25, 2018 and signed for on that

date by K. Ordones, an employee of the Central Authority. A true and correct copy of the proof

of delivery is attached as Exhibit 2.

7.     Venezuela’s “Central Authority” is the Office of Consular Relations of Venezuela’s

Ministry of the Popular Power for External Relations (Ministerio del Poder Popular para

Relaciones Exteriores) (the “Foreign Ministry”). Service on Venezuela was thus complete as of

January 25, 2018 because Venezuela was itself the party to be served and no further action by the

Venezuelan Foreign Ministry was required to complete service. A true and correct copy of

information provided by Venezuela to the Hague Conference on Private International Law and

identifying Venezuela’s Central Authority is attached as Exhibit 3.

8.     In the meantime, on December 18, 2017, the Acting Secretary-General of ICSID

registered Venezuela’s request for rectification of the Award. ECF # 7, ¶ 24. On April 11, 2018,

the Tribunal issued a Decision on Rectification reducing the principle amount awarded to KNI as

compensation by US$18,100,000 (from US$184,800,000 to US$166,700,000). ECF # 7, Ex. 2.

The October 30, 2017 Award and the Tribunal’s April 11, 2018 Decision on Rectification jointly

comprise the full and final Award in this case. ECF # 7, ¶ 26.

9.     The Koch Plaintiffs accordingly filed an Amended Complaint to reflect the Tribunal’s

downward revision of the compensation owed to KNI by Venezuela on May 23, 2018. ECF # 7.

No new causes of action or defendants were added to the Amended Complaint. Subsequently,

acting out of an abundance of caution, the Koch Plaintiffs decided to serve Venezuela through

the Hague Service Convention for a second time.

10.    On June 1, 2018, the Koch Plaintiffs couriered a duly executed and notarized USM-94

“Request for Service Abroad of Judicial or Extrajudicial Documents” in duplicate English and



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Spanish versions, together with duplicate English and Spanish copies of the Amended

Complaint, three supporting exhibits, and civil summons, to the Venezuelan Foreign Ministry. A

true and correct copy of the duly executed and notarized USM-94 form is attached as Exhibit 4.

11.    Delivery was made on June 13, 2018, and acknowledged in writing by a Foreign Ministry

employee, Mr. Jose Vera. A true and correct copy of the proof of delivery is attached as Exhibit

5. Service of the Koch Plaintiffs’ Amended Complaint upon Venezuela pursuant to the Hague

Service Convention was complete upon receipt and acceptance by the Foreign Ministry on June

13, 2018.

12.    Venezuela has failed to respond within 60 days of service of the Koch Plaintiffs’

Complaint as required under 28 U.S.C. § 1608(d). Venezuela has filed no pleadings and served

none upon the Koch Plaintiffs or their counsel. Likewise, Venezuela has received no extension

of its time to seek an extension and its time to do so has expired. Venezuela is neither an infant

nor an incompetent person.

13.    The Clerk is respectfully requested to enter a default against Venezuela.



I declare under the penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Dated: New York
       May 9, 2019



                                                             _______________
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